Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page1
                                                                   1 of
                                                                     of 21
                                                                        21 PageID #: 4812




             16-1101-cv
                 United States Court of Appeals
                                           for the

                               Second Circuit

              ALLSTATE INSURANCE COMPANY, ALLSTATE PROPERTY &
            CASUALTY INSURANCE COMPANY, ALLSTATE FIRE & CASUALTY
              INSURANCE COMPANY, ALLSTATE INDEMNITY COMPANY,
                  ALLSTATE NORTHBROOK INDEMNITY COMPANY,

                                                                     Plaintiffs-Appellants,

                                           – v. –

               HARVEY FAMILY CHIROPRACTIC, PHYSICAL THERAPY &
             ACUPUNCTURE, PLLC, RICHARD HARVEY, D.C., JIN HWANGBO,
                       L. AC, BERVIN NELSON BRUAL, P.T.,

                                                                    Defendants-Appellees.

                            ––––––––––––––––––––––––––––––
                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


                 REPLY BRIEF FOR PLAINTIFFS-APPELLANTS


          WILLIAM J. NATBONY                    ROBERT A. STERN
          CADWALADER, WICKERSHAM & TAFT LLP     DANIEL MARVIN
          One World Financial Center            STERN & MONTANA, LLP
          200 Liberty Street                    One World Financial Center, 30th Floor
          New York, New York 10281              New York, New York 10281
          (212) 504-6351                        (212) 532-8100

                              Attorneys for Plaintiffs-Appellants
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page2
                                                                   2 of
                                                                     of 21
                                                                        21 PageID #: 4813




                     CORPORATE DISCLOSURE STATEMENT

          Plaintiff-Appellants Allstate Insurance Company, Allstate Property &

    Casualty Insurance Company, Allstate Fire & Casualty Insurance Company,

    Allstate Indemnity Company, and Allstate Northbrook Indemnity Company

    (collectively, “Plaintiff-Appellants” or “Allstate”) certify that each is a wholly-

    owned subsidiary of The Allstate Corporation, a Delaware corporation. The stock

    of The Allstate Corporation is publicly traded. No publicly held entity owns 10%

    or more of the stock of The Allstate Corporation. The Allstate Corporation does

    not own 10% or more of any publicly traded entity.
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page3
                                                                   3 of
                                                                     of 21
                                                                        21 PageID #: 4814




                                             TABLE OF CONTENTS
    TABLE OF AUTHORITIES ..................................................................................... ii

    INTRODUCTION .....................................................................................................1

    ARGUMENT

    I.      THIS COURT’S RECENT DECISION IN CHEVRON v. DONZIGER
            SUPPORTS PLAINTIFF-APPELLANTS’ CONTENTION THAT UNDER
            THE NARROW CIRCUMSTANCES OF THIS CASE, THE RICO ACT IS
            AN EXPRESSLY AUTHORIZED EXCEPTION TO THE ANTI-
            INJUNCTION ACT ........................................................................................3

    II.      DEFENDANTS-APPELLANTS’ ARGUMENT REGARDING
             THE FEDERAL ARBITRATION ACT IS NOT AT ISSUE ON THIS
             APPEAL ..........................................................................................................8

    III.    PLAINTIFFS-APPELLANTS MADE THE PROPER SHOWING
            NECESSARY FOR A STAY OF THE STATE COURT ACTIONS................9

             A. Plaintiffs-Appellants Would Suffer Irreparable Harm in the Absence
                of a Stay .................................................................................................. 10

             B. Plaintiffs-Appellants Set Forth Sufficiently Serious Questions Going to
                the Merits to Make Them Fair Ground for Litigation ............................ 11

             C. The Balance of Equities Favored Plaintiffs-Appellants ......................... 12


    IV.     PLAINTIFFS-APPELLANTS HAVE NOT BEEN AFFORDED THE
            RELIEF SOUGHT .........................................................................................14


    CONCLUSION ........................................................................................................14




                                                                i
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page4
                                                                   4 of
                                                                     of 21
                                                                        21 PageID #: 4815




                                           TABLE OF AUTHORITIES

    Cases

    Alan Skop, Inc. v. Benjamin Moore, Inc.,
       909 F.2d 59 (2d Cir.1990) ..................................................................................12

    Chevron Corp. v. Donziger,
       No. 14-0826(L), 2016 WL 4173988
       (2d Cir. Aug. 8, 2016) ................................................................................ 4, 5, 6

    Dandong v. Pinnacle Performance Ltd.,
       2011 WL 6156743 (S.D.N.Y. Dec. 12. 2011) ....................................................12

    Allstate Ins. Co. v. Elzanaty, 929 F. Supp. 2d 199
        (E.D.N.Y. 2013) ............................................................................................ 10,11

    Government Employees Insurance Co., et al. v. Damien,
       et al., No. CV 10-5409 (SLT) (JMA) (E.D.N.Y Jan.
       4, 2011) .............................................................................................................. 11

    Government Employees Insurance Co., et al. v. Damien, et al., No. CV 10-5409
    (SLT) (JMA) (E.D.N.Y Jan. 4, 2011)

    Mitchum v. Foster,
       407 U.S. 225 (1972) .............................................................................................4

    National Organization for Women, Inc. v. Scheidler,
       267 F.3d 6878 (7th Cir. 2001) ..............................................................................6

    Rotella v. Wood,
       528 U.S. 5497 (2000)...........................................................................................6

    Thomas E. Hoar, Inc. v. Sara Lee Corp.,
       900 F.2d 522 (2d Cir.1990) ................................................................................14

    Allstate Ins. Co. v. Tvildiani, 14-CV-07328 (SJ)(RLM)
        (E.D.N.Y. March 5, 2015), Doc. No. 12-30 .......................................................10

    Statutes
    11 N.Y.C.R.R. § 65 3.9(a) ........................................................................................13

                                                                 ii
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page5
                                                                   5 of
                                                                     of 21
                                                                        21 PageID #: 4816



    9 U.S.C. §§ 1 ..............................................................................................................8

    28 U.S.C. § 2283 ....................................................................................................1, 4

    18 U.S.C. §§ 1964(a)-(c)............................................................................................4

    18 U.S.C. §§ 1964(a) .................................................................................................5

    Rules
    Fed. R. App. P. 32(a)(5) ...........................................................................................16

    Fed. R. App. P. 32(a)(6) ...........................................................................................16

    Fed. R. App. P. 32(a)(7)(B)(iii) ................................................................................16




                                                                 iii
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page6
                                                                   6 of
                                                                     of 21
                                                                        21 PageID #: 4817




                                     INTRODUCTION

          Defendants-Appellees’ opposition reflects an abject failure on their part to

    read and understand Plaintiffs-Appellants’ brief on appeal. Demonstrative of that

    fact, Defendants-Appellees’ opposition fails to even address the core issue

    underlying this appeal, to wit: whether the District Court erred by not finding that

    Section 1964(a) of the RICO Act is an exception to 28 U.S.C. § 2283 (the “Anti-

    Injunction Act” or “AIA”) “expressly authorized by Act of Congress.” Instead,

    Defendants-Appellees argue pointlessly regarding the District Court’s authority to

    rule on that portion of Plaintiffs-Appellants’ motion below which sought to stay

    No-fault arbitrations in light of the Federal Arbitration Act, ignoring that such

    issue is not even on appeal. If nothing else, Defendants-Appellees’ failure to

    address the core issue on this appeal must be seen as an indication that they could

    not conjure any viable argument in opposition. Moreover, Defendants-Appellees’

    opposition brief arguments must be rejected for four additional reasons.

          First, Defendants-Appellees dedicate an entire section of their brief to

    arguing that Plaintiffs-Appellants have not established a likelihood of success on

    the merits as required to satisfy the first element for the issuance of the preliminary

    injunction sought below. However, no showing was required or asserted by

    Plaintiffs below, as Plaintiffs-Appellants instead asserted that an injunction was

    appropriate because there were sufficiently serious questions going to the merits of


                                              1
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page7
                                                                   7 of
                                                                     of 21
                                                                        21 PageID #: 4818



    this matter to make them fair grounds for litigation. In this Circuit, it is well-settled

    that conflicting stories between parties, as is present here, can establish a

    sufficiently serious question going to the merits for the purposes of justifying a

    preliminary injunction, and Defendants-Appellees do not and cannot argue

    otherwise.

          Second, Defendants-Appellees argue that Plaintiffs-Appellants cannot show

    irreparable harm because Plaintiffs-Appellants’ losses can be remedied by

    monetary damages. Once again, Defendants-Appellees proffer an argument that

    demonstrates their failure to read and/or understand Plaintiffs-Appellants’ brief, or

    the Complaint, which plainly seeks a declaratory judgment. In that regard, the

    United States Supreme Court has held declaratory judgment to be a form of

    equitable relief, and therefore it cannot be redressed by monetary damages.

    Accordingly, irreparable harm is inherent in Plaintiffs-Appellants’ claim for

    equitable relief and has been demonstrated.

          Third, Defendants-Appellees assert that the balance of hardship tips in their

    favor because if a preliminary injunction is issued, they will be required to wait

    until this matter is resolved in order have their No-fault claims heard. As discussed

    below, and for the reasons set forth in Plaintiffs-Appellants’ initial brief, that

    argument simply fails. See Pls.’ Br., ECF No. 44, at 39–46. A mere delay in

    litigation resulting from a stay cannot be considered, in and of itself, sufficient


                                               2
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page8
                                                                   8 of
                                                                     of 21
                                                                        21 PageID #: 4819



    prejudice to preclude a stay and the balance of equities otherwise tip resoundingly

    in Plaintiffs-Appellants’ favor.

          Fourth and finally, Defendants-Appellees attempt to mislead this Court by

    asserting that Plaintiffs-Appellants have already been afforded a stay of the state

    court proceedings in the lower courts, thus rendering this appeal moot. That

    argument is patently untrue, and unsupported by any documentary evidence

    (because it does not exist)and this Court should not consider a claim that is dehors

    the record. At any event, no stays of the claims in dispute have been granted

          Accordingly, for the reasons set forth herein and in Plaintiffs-Appellants’

    initial brief, it is respectfully submitted that this Court should reverse the District

    Court’s denial of Plaintiffs-Appellants’ Motion for Reconsideration, and reverse

    the District Court’s denial of Plaintiffs-Appellants’ Motion for Preliminary

    Injunction.

                                       ARGUMENT
                                              I.

            THIS COURT’S RECENT DECISION IN CHEVRON v. DONZIGER
             SUPPORTS PLAINTIFF-APPELLANTS’ CONTENTION THAT
            UNDER THE NARROW CIRCUMSTANCES OF THIS CASE, THE
             RICO ACT IS AN EXPRESSLY AUTHORIZED EXCEPTION TO
                           THE ANTI-INJUNCTION ACT

          As a threshold matter, Plaintiffs-Appellants note that after their initial brief

    was filed in this matter, this Court, in interpreting the remedial provisions of the


                                              3
Case 1:17-cv-04275-LDH-RML
               Case 16-1101, Document
                              Document67,
                                       185-4
                                          10/07/2016,
                                               Filed 07/27/18
                                                      1880226,Page
                                                               Page9
                                                                   9 of
                                                                     of 21
                                                                        21 PageID #: 4820



    Racketeer Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C. §§

    1964(a)-(c), held that “a federal court is authorized to grant equitable relief to a

    private plaintiff who has proven injury to its business or property by reason of a

    defendant's violation of § 1962.” Chevron Corp. v. Donziger, No. 14-0826(L),

    2016 WL 4173988, at *53 (2d Cir. Aug. 8, 2016) (hereinafter “Chevron”). In so

    holding, this Court effectively found that the first of two prongs necessary under

    Supreme Court precedent in order for the RICO Act to qualify as an “expressly

    authorized” exception to the Anti-injunction Act has been satisfied. Other language

    set forth in Chevron makes clear that the second prong is satisfied here as well, and

    that the Chevron holding harmonizes with Plaintiffs-Appellants’ position here.

          As set forth in Plaintiffs-Appellants’ brief on appeal, the Anti-Injunction Act

    (“AIA”), codified at 28 U.S.C. § 2283, prohibits federal courts from enjoining state

    court proceedings except, inter alia, “as expressly authorized by Act of Congress.”

    See Pls.’ Br., ECF No. 44, at 22–24. In Mitchum v. Foster, 407 U.S. 225 (1972), the

    United States Supreme Court held that to qualify for this exception, the statute in

    question need not contain an express reference to the AIA, nor must it explicitly

    authorize injunctions of state court proceedings. 407 U.S. at 337. Rather, the test is

    simply whether “an Act of Congress, (i) clearly creating a federal right or remedy

    enforceable in a court of equity, and (ii) could be given its intended scope only by a

    stay of the state court proceeding.” Id. at 238 (emphasis added).


                                              4
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page10
                                                             Page 10
                                                                   of of
                                                                      2121 PageID #:
                                        4821


        With respect to the first prong of the Mitchum test, this Court, in Chevron,

 recognized that the RICO Act clearly created a federal right or remedy enforceable

 in a court of equity, finding that § 1964(a), which grants federal courts broad

 powers of equitable relief to “prevent and restrain” violations of the Act, is a

 substantive grant of remedies available to all plaintiffs, whether private or

 governmental. Chevron, 2016 WL 4173988, at *53-54. This Court explained:

        We read subsection (a) of § 1964 as expansively authorizing federal
        courts to exercise their traditional equity powers. . . . Accordingly,
        unless a statute expressly, or by a necessary and inescapable inference,
        restricts the court's jurisdiction in equity, we will infer that all the
        inherent equitable powers of the District Court are available for the
        proper and complete exercise of that jurisdiction. . . . In our view,
        . . . Congress did not intend to limit the court's subsection (a) authority
        by reference to the identity or nature of the plaintiff.

 Id. (internal citations and quotations omitted). Accordingly, based on this Court’s

 holding in Chevron, the first prong of the Mitchum test is satisfied, to wit: the

 RICO Act provides private litigants a federal right and remedy enforceable in a

 court of equity.

        With respect to the second prong of the Mitchum test— whether the RICO

 Act could be given its intended scope only by an injunction of the state court

 proceedings, that is clearly the case here. As this Court noted in Chevron, “the

 interpretation of § 1964 as authorizing the grant of equitable relief to private

 plaintiffs is consistent with Congress's intent ‘to “encourag[e] civil litigation to

 supplement Government efforts to deter and penalize the . . . prohibited practices.
                                            5
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page11
                                                             Page 11
                                                                   of of
                                                                      2121 PageID #:
                                        4822


 The object of civil RICO is thus not merely to compensate victims but to turn them

 into prosecutors, ‘private attorneys general,’ dedicated to eliminating racketeering

 activity.” Chevron 2016 WL 4173988, at *54 (alteration in original) (emphasis

 added) (internal quotation marks omitted) (quoting National Organization for

 Women, Inc. v. Scheidler, 267 F.3d 687, 698 (7th Cir. 2001) (quoting Rotella v.

 Wood, 528 U.S. 549, 557 (2000))).

        Absent a stay of the state court proceedings here, the RICO violations

 alleged in the Complaint will continue unabated, allowing Defendants-Appellees to

 perpetuate their alleged fraud through those state court proceedings, each one of

 which seeks the unlawful fruit of a RICO predicate act. Far from “deterring and

 penalizing prohibited practices” or “eliminating racketeering activity,” allowing the

 state court actions to proceed here would have the opposite effect: it would both

 reward and further the racketeering activity by offering the Defendants-Appellees a

 forum to seek their ill-gotten gains. It is for this reason that permitting the state

 court matters to proceed under the specific circumstances of this case would cut

 directly against the intended scope of the RICO Act in eliminating racketeering

 activity as articulated in Chevron and by the United States Supreme Court.

        Furthermore, interpreting the RICO Act to allow a District Court the power

 to stay state court matters in order to prevent and restrain RICO violations clearly

 promotes the Act’s objective. A contrary reading would risk stripping federal courts


                                          6
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page12
                                                             Page 12
                                                                   of of
                                                                      2121 PageID #:
                                        4823


 of their power to issue effective relief in cases involving an ongoing racketeering

 scheme in which state courts are being used to further a RICO enterprise—a result

 which would undermine the RICO Act’s purpose and severely undercut its

 intended scope. See. Pls.’ Br., ECF No. 44, at 31–34. In the instant case, Plaintiffs-

 Appellants asked the District Court to place a temporary hold on Defendants-

 Appellees’ state court No-fault actions, which directly seek the fruits of their

 racketeering activity. In light of the wide latitude given to District Courts in

 shaping equitable relief in RICO actions, and the congressional and judicial

 guidance consistently reaffirming RICO’s broad scope, it is clear that the

 provisional remedy sought by Plaintiffs-Appellants here—a temporary stay of the

 state court actions in order to preserve the status quo and prevent and restrain

 further violations of Section 1962—was and is necessary in order to give the RICO

 Act its intended extensive remedial purpose and scope.

        In sum, even if the text of the RICO Act does not expressly allow for the

 issuance of preliminary injunctions to private plaintiffs, as the Court stated in

 Chevron, that would have no impact on the relief requested below because the

 fundamental issued presented by this appeal is whether Plaintiffs-Appellants met

 the criteria for falling within the “Act of Congress” exception to the AIA. Such a

 finding is dependent upon whether the RICO Act, which plainly grants Plaintiffs-

 Appellants a federal right and equitable remedy, could only be given its intended


                                           7
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page13
                                                             Page 13
                                                                   of of
                                                                      2121 PageID #:
                                        4824


 scope by a stay of the state court proceedings at issue. For the reasons set forth in

 Plaintiffs-Appellants’ brief and further herein, it is respectfully submitted the

 answer is “yes”, and Plaintiffs-Appellants’ motion for equitable relief should have

 been granted.

        Finally, as set forth in Plaintiffs-Appellants’ brief and incorporated herein by

 reference, the Supreme Court has found the “expressly authorized” exception to

 the Anti-Injunction Act particularly applicable when it is “evident that Congress

 clearly conceived that it was altering the relationship between the States and the

 Nation with respect to the protection of federally created rights,” which is the case

 with the RICO Act, see Pls.’ Br., ECF No. 44, at 34–35, and because the “expressly

 authorized” exception to the AIA applies where the state court actions sought to be

 stayed contribute to ongoing violations of a federal statute, which is also the case

 here. See Pls.’ Br., ECF No. 44, at 35–38.

                                           II.

      DEFENDANTS-APPELLANTS’ ARGUMENT REGARDING THE
    FEDERAL ARBITRATION ACT IS NOT AT ISSUE ON THIS APPEAL

        Defendants-Appellees oppose an argument that was not raised on appeal or

 addressed in Plaintiffs-Appellants’ brief. In particular, Defendants-Appellees argue

 that the District Court lacks the power to stay No-fault arbitrations pending

 between the parties, due to the mandates of the Federal Arbitration Act (“FAA”),

 9 U.S.C. §§ 1 et seq. See Defs.’ Br., ECF No. 57, at 16. However, that issue is not
                                            8
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page14
                                                             Page 14
                                                                   of of
                                                                      2121 PageID #:
                                        4825


 before this Court on appeal, which solely seeks clarity regarding the District

 Court’s power to stay state court actions, not arbitrations. In that regard,

 Defendants-Appellees’ argument is irrelevant and should be ignored by the Court.

                                           III.

        PLAINTIFFS-APPELLANTS MADE THE PROPER SHOWING
        NECESSARY FOR A STAY OF THE STATE COURT ACTIONS

        Plaintiffs-Appellants’ brief in support of this appeal detailed the sufficiency

 of their showing below of entitlement to preliminary injunctive relief, See Pls.’ Br.,

 ECF No. 44, at 38–49. Accordingly, Plaintiffs-Appellants principally rely on the

 arguments made therein, and seek only to make a few clarifying remarks for the

 purposes of addressing Defendants-Appellees’ arguments in opposition.

        First and foremost, it is worth noting that the District Court here took no

 issue with any of the substantive elements of Plaintiffs-Appellants’ motion for a

 preliminary injunction, and in fact noted that in a prior case, under the very same

 circumstances and showing made, it had granted the relief sought insofar as staying

 arbitrations. A-776. As the court noted below, the sole issue it was seeking to

 determine was whether or not the court had the power to enjoin the state court

 litigations, not whether Plaintiffs-Appellants had made the proper showing of

 entitlement to such relief. A-776. Plaintiffs-Appellants have plainly satisfied the

 prerequisites for entitlement to the injunctive relief sought.



                                            9
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page15
                                                             Page 15
                                                                   of of
                                                                      2121 PageID #:
                                        4826



        A. Plaintiffs-Appellants Would Suffer Irreparable Harm in the Absence
           of a Stay________________________________________________

        Defendants-Appellees argue that Plaintiffs-Appellants would not suffer

 irreparable harm in the absence of the requested injunction, but fail to address the

 fundamental reason why such harm exists, and why District Courts in this Circuit

 have repeatedly found such harm to exist in substantially similar circumstances. At

 bottom, “allowing a large number of proceedings to be heard by a mix of

 [factfinders], each of whom will likely come to their own independent and

 potentially contradictory conclusions, will result in harm to [Plaintiffs-Appellants]

 from which [they] cannot recover.” Elzanaty, 929 F. Supp. 2d at 222; see also

 Tvildiani, 14-CV-07328 (E.D.N.Y. April 14, 2015) (granting the plaintiffs’ motion

 to preliminarily enjoin the defendants from filing and proceeding with any No-fault

 collection arbitrations pending the resolution of the federal court action, finding

 that the “[p]laintiffs demonstrated that they face[d] irreparable harm absent the

 award of a preliminary injunction.”).

        Moreover, while Defendants-Appellees assert that Plaintiffs-Appellants

 would suffer no harm outside of monetary damages, this is simply not true and

 ignores the fact that Plaintiffs-Appellants also seek declaratory relief from the

 District Court. If Defendants-Appellees are permitted to continue filing and

 pursuing hundreds of claims in state courts seeking reimbursement from Plaintiffs-

 Appellants to which they are not entitled due to Harvey FCPTA’s fraudulent
                                          10
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page16
                                                             Page 16
                                                                   of of
                                                                      2121 PageID #:
                                        4827


 incorporation, the risk of contradictory decisions which may then be rendered

 unenforceable by a decision in the instant action would constitute an irreparable

 harm. See Elzanaty, 929 F. Supp. 2d at 221 (“If this Court were to grant a

 declaratory judgment finding [Defendants] ineligible for reimbursement, it may be

 that an award won by the Defendants in arbitration would conflict with this Court's

 ruling and may not be enforceable. With this in mind, it cannot be said that the

 only injuries at stake here are money, time and energy necessarily expended in the

 absence of a stay.” (quotations and citations omitted)); Government Employees

 Insurance Co., et al. v. Damien, et al., No. CV 10-5409 (SLT) (JMA) (E.D.N.Y

 Jan. 4, 2011) (enjoining defendants from “commencing and/or prosecuting, or

 causing to be commenced or prosecuted, any future collection proceeding against

 [plaintiffs] seeking payment for No-fault benefits…either through state court

 proceedings or arbitration, except as counterclaims to this action”). Accordingly,

 Plaintiffs-Appellants have demonstrated irreparable harm in the absence of a stay.

        B. Plaintiffs-Appellants Set Forth Sufficiently Serious Questions Going
           to    the    Merits    to   Make      Them     Fair   Ground     for
           Litigation__________________________________________________

        Defendants-Appellees argue that Plaintiffs-Appellants did not establish a

 likelihood of success on the merits. However, such a showing was not required

 because Plaintiffs instead asserted sufficiently serious questions going to the merits

 of this matter to make them fair ground for litigation. Defendants-Appellees’


                                          11
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page17
                                                             Page 17
                                                                   of of
                                                                      2121 PageID #:
                                        4828


 motivation for applying the wrong standard is clear: in this Circuit, it is well-

 settled that conflicting stories between parties, as is present here, can establish a

 sufficiently serious question going to the merits for the purposes of justifying a

 preliminary injunction. See, e.g,. Alan Skop, Inc. v. Benjamin Moore, Inc., 909 F.2d

 59, 61 (2d Cir.1990); Dandong v. Pinnacle Performance Ltd., 2011 WL 6156743

 (S.D.N.Y. Dec. 12. 2011). At bar, Defendants-Appellees’ opposition sets forth

 purported facts which directly conflict with those alleged in the Compliant, and

 they maintain that “Plaintiff(s)’ allegations against the Defendant(s) are

 categorically false.” Defs.’ Br., ECF No. 57, at 1–3. Those denials, in and of

 themselves, are adequate for a finding that there are sufficiently serious questions

 going to the merits to make them a fair ground for litigation, thus satisfying this

 element for the issuance of a preliminary injunction.

        C. The Balance of Equities Favored Plaintiffs-Appellants

        Defendants-Appellees’ sole argument that the balancing of the equities tips

 in their favor is that upon the issuance of a stay, Defendant-Appellants would have

 to wait to have their No-fault claims heard. Defs.’ Br., ECF No. 57, at 15–16.

 Hyperbole aside, such an outcome is axiomatic, of course, as the entire function of

 a stay is to postpone litigation. Indeed, if delay in and of itself was sufficient to

 militate against a stay, no stay would ever issue. Moreover, to the extent that a

 delay in reimbursement could in some way be considered a significant detriment,


                                          12
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page18
                                                             Page 18
                                                                   of of
                                                                      2121 PageID #:
                                        4829


 such a detriment is clearly outweighed in this case by the language of 11

 N.Y.C.R.R. § 65 3.9(a), which mandates the award of two percent (2%) interest

 every month No-fault payments are overdue. Thus, if the stay requested here were

 granted, in the extremely unlikely event that Defendants-Appellees prevailed in

 this matter (and subsequently in the related litigations), they would be well

 compensated for the delay with a twenty-four percent (24%) yearly return on the

 outstanding principle of their successful claims. On the other hand, the prejudice to

 Plaintiffs-Appellants in the absence of a stay, wherein Plaintiffs-Appellants could

 be subject to numerous additional and duplicative proceedings, as well as

 conflicting, unenforceable, and potentially unrecoverable judgment losses,

 significantly outweighs the mere inconvenience of delay asserted by Defendant-

 Appellees.

        Thus, because Plaintiffs-Appellants adequately established (1) irreparable

 harm; (2) sufficiently serious questions going to the merits of the case; and (3) that

 the balance of the equities tips decidedly in their favor, and because the court

 below took no issue with Plaintiffs-Appellants’ satisfaction of any of those factors,

 it is respectfully submitted that this Court should remand this matter for the

 issuance of a stay of the subject state court proceedings, pending the outcome of

 this litigation.




                                          13
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page19
                                                             Page 19
                                                                   of of
                                                                      2121 PageID #:
                                        4830



                                           IV.

  PLAINTIFFS-APPELLANTS HAVE NOT BEEN AFFORDED THE RELIEF
                          SOUGHT

        Defendants-Appellees assert – falsely - that Plaintiffs-Appellants’ have

 already been afforded a stay of the state court proceedings in the lower courts, thus

 rendering thus appeal moot. That is simply untrue and unsupported by any

 documentation. Although Plaintiffs-Appellants have filed motions seeking stays of

 the state court proceedings in the state courts, in accordance with the New York

 State Civil Practice Law and Rules, those motions have not even been heard yet, let

 alone granted. Defendants-Appellees’ argument in that regard must be ignored. See

 e.g. Thomas E. Hoar, Inc. v. Sara Lee Corp., 900 F.2d 522, 526 (2d Cir.1990)

 (refusing to consider contention on appeal, “[i]n view of the dehors the record

 factual nature of [the claim].”

                                    CONCLUSION

        For the reasons set forth herein, and in Plaintiffs-Appellants’ initial brief, it

 is respectfully submitted that: (1) the District Court erred in holding that the Anti-

 Injunction Act precluded it from issuing the preliminary relief requested by

 Plaintiffs-Appellants in their Motion for Preliminary Injunction; (2) the District

 Court erred in failing to issue the requested injunction; (3) the District Court

 abused its discretion in failing to identify the Second Circuit case upon which it

 purportedly relied in denying Plaintiffs-Appellants’ Motion for a Preliminary
                                           14
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page20
                                                             Page 20
                                                                   of of
                                                                      2121 PageID #:
                                        4831


 Injunction; and (4) the District Court erred in failing to reconsider its denial of

 Plaintiffs-Appellants’ Motion for Preliminary Injunction.


 STERN & MONTANA LLP                           CADWALADER, WICKERSHAM &
                                               TAFT LLP


 By          /s/Daniel S. Marvin               By     /s/William J. Natbony


 Robert A. Stern, Esq. (RAS-1282)              William J. Natbony, Esq. (WN-5507)
 Daniel S. Marvin, Esq.(DM-7106)               Attorneys for Plaintiffs-Appellants
 Attorneys for Plaintiffs-Appellants           One World Financial Center
 One World Financial Center                    New York, New York 10281
 New York, New York 10281                      Telephone No.: (212) 504-6351
 Telephone No.: (212) 532-8100




                                         15
Case 1:17-cv-04275-LDH-RML
            Case 16-1101, Document
                             Document
                                   67, 10/07/2016,
                                        185-4 Filed1880226,
                                                    07/27/18Page21
                                                             Page 21
                                                                   of of
                                                                      2121 PageID #:
                                        4832



                       CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Fed. R. App. P.

 32(a)(7)(B)(ii) because this brief contains 3,402 words, excluding the parts of the

 brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii). This brief complies with the

 typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements

 of Fed. R. App. P. 32(a)(6) because this brief has been prepared in a proportionally

 spaced typeface using Microsoft Office Word 2010 in 14 point Times New Roman

 font with footnotes in 12 point Times New Roman font.



                                       By:         /s/Daniel Marin




                                         16
